                                                 Case 2:19-cv-00239-GMS Document 9 Filed 03/25/19 Page 1 of 3



                                       1   Gregory B. Collins (#023158)
                                           Zachary R. Fort (#031643)
                                       2
                                           KERCSMAR & FELTUS PLLC
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                                           Scottsdale, Arizona 85251
                                       4   Telephone: (480) 421-1001
                                       5   Facsimile: (480) 421-1002
                                           gbc@kflawaz.com
                                       6   zrf@kflawaz.com
                                       7
                                           Attorneys for Plaintiff
                                       8
                                       9                        IN THE UNITED STATES DISTRICT COURT
                                      10                              FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12   Ronald H. Pratte,                                  Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                          Plaintiff,                  APPLICATION FOR SUBSTITUTION
           (480) 421-1001




                                                                                              OF COUNSEL
                                      14
                                           vs.
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                          Defendants.
                                      18
                                      19            Pursuant to LRCiv 83.3(b), plaintiff Ronald H. Pratte (“Plaintiff”) applies for an
                                      20   Order from the Court permitting Gregory B. Collins and Zachary R. Fort of Kercsmar &
                                      21   Feltus PLLC to be substituted as counsel for Ronald H. Pratte in place of Brian M.
                                      22   Flaherty and Sacks Tierney P.A., 4250 N. Drinkwater Blvd., 4th Floor, Scottsdale,
                                      23   Arizona 85251-3696, Brian.Flaherty@sackstierney.com.
                                      24            Plaintiff requests that notices of all proceedings and copies of all pleadings in this
                                      25   action be served on new counsel as follows:
                                      26
                                      27   ////
                                           ////
                                      28
                                           ////

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                                              Case 2:19-cv-00239-GMS Document 9 Filed 03/25/19 Page 2 of 3


                                                                      Gregory B. Collins, SBN 023158
                                       1                                    gbc@kflawaz.com
                                       2                               Zachary R. Fort, SBN 031643
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                                       3                                Kercsmar & Feltus PLLC
                                                                        7150 East Camelback Road
                                       4
                                                                                 Suite 285
                                       5                                 Scottsdale, Arizona 85251
                                                                              (480) 421-1001
                                       6
                                                 This application bears the written approval of Plaintiff and both original and
                                       7
                                           substitute counsel. A proposed form of order is submitted herewith.
                                       8
                                                 DATED this 25th day of March, 2019
                                       9
                                      10                                       KERCSMAR & FELTUS PLLC
                                      11
                                                                          By: s/ Gregory Collins
7150 East Camelback Road, Suite 285




                                      12
                                                                              Gregory B. Collins
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                                      Zachary R. Fort
                                                                              7150 East Camelback Road, Suite 285
           (480) 421-1001




                                      14                                      Scottsdale, Arizona 85251
                                      15                                      Attorneys for Plaintiff

                                      16
                                                                               SACKS TIERNEY P.A.
                                      17
                                      18                                  By: s/ Brian Flaherty
                                                                              Brian M. Flaherty
                                      19                                      4250 N. Drinkwater Blvd., 4th Floor
                                      20                                      Scottsdale, Arizona 85251-3693
                                                                              Attorneys for Plaintiff
                                      21
                                           APPROVAL BY CLIENT:
                                      22
                                      23   By: s/ Ron Pratte (w/ permission)
                                                Ron Pratte
                                      24
                                      25
                                      26
                                      27
                                      28

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                                              Case 2:19-cv-00239-GMS Document 9 Filed 03/25/19 Page 3 of 3


                                                                   CERTIFICATE OF SERVICE
                                       1
                                                I certify that on March 25, 2019, I electronically transmitted the foregoing to the
                                       2   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                       3   Electronic Filing to the following:
                                       4
                                           Thomas M. Connelly
                                       5   LAW OFFICES OF THOMAS M. CONNELLY
                                           2425 East Camelback Road, Suite 880
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                                       8   Tconnelly2425@aol.com
                                       9   Thomas J. Marlowe
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                                      11   Phoenix, Arizona 85016
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     Kercsmar & Feltus PLLC




                                      13
           (480) 421-1001




                                           Attorneys for Defendants
                                      14
                                      15
                                           s/ Patricia S. Werner
                                      16
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